Case 2:05-cr-20027-.]PI\/| Document 5 Filed 04/25/05 Page 1 of 2 Page|D 7

IN THE UNITED sTATEs DISTRICT CoURT H* 5
FOR THE wEsTERN nisTRICT oF TENNESSEE

wEsTERN DIVISION 05 u¥§£$ Fn ,-i

 

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Criminal l\To.j_§'-_ZW":`11 Ml

(180-Day Continuance)

U'NITED STATES OF _AMERICA

 

Plaintiff,

V.

NAZM/v§\/ /)@)<M

 

 

 

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Defendant(s).

 

REPORT ON FUGITIVE STA'I'US AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above»referenced fugitive defendant(s)
before the Court Will be made on Fridav, October 28, 2005, at

10:30 a.m.

SO ORDERED this 22nd day of April, 2005.

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JON PHIPPS MCCALLA

QZ%/.<yg H/LA UN TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20027 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

